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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                         )
                                                   )
                 Plaintiff,                        )
                                                   )
 vs.                                               )   Case No. 89-CR-91-TCK
                                                   )
 DARREN L. HARRIS,                                 )
                                                   )
                 Defendant.                        )

                                     OPINION AND ORDER

        Before the Court is the motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

 § 2255 (Doc. 222) filed by Defendant Darren L. Harris (“Defendant”) in April 1997 (“§ 2255

 Motion”).

 I.     Background

        On December 27, 2012, the Court entered an Opinion and Order (Doc. 432) (“12/27/12

 Order”) setting forth the procedural background, which is incorporated herein by reference.1 In this

 Order, the Court granted Defendant’s motion to reopen the § 2255 Motion and vacated Judge Cook’s

 classification of such motion as second or successive. The Court ordered the United States to file

 a response to the § 2255 Motion and did not permit Defendant to file a reply brief. Defendant filed

 a supplemental brief in support of the § 2255 Motion on August 19, 2013 (Doc. 444).2 Defendant

 filed a Petition for Writ of Mandamus with the Tenth Circuit seeking a ruling on the § 2255 Motion,



        1
            Unless otherwise stated, this Order uses the same short names as the 12/27/12 Order.
        2
            The Court provided notice to the United States that it would consider this brief in ruling
 on the § 2255 Motion, and the United States elected not to respond. (Docs. 446, 447.) The Court
 has considered all arguments made by Defendant in the first supplemental brief that provide factual
 or legal support for his original motion and do not raise new grounds for relief. To the extent
 necessary, the Court vacates language in the 12/27/12 Order prohibiting a reply brief or further
 filings from Defendant in support of his motion.
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 and the Tenth Circuit Circuit invited the Court to respond within thirty days. On the date of entry

 of this Order, November 21, 2013, Defendant filed a second supplemental brief (Doc. 448).3

        In the § 2255 Motion and supporting supplemental briefs, Defendant argues that his trial

 counsel, C.W. Hack (“Hack”), now deceased, was ineffective based upon four specific failures: (1)

 failing to file a pre-trial motion challenging whether the grand jury was presented with evidence of

 Defendant’s participation in the conspiracy after his eighteenth birthday on June 19, 1989; (2) failing

 to make pre-trial requests for discovery related to a July 9, 1989 arrest of Defendant, which was

 described during trial by Tulsa Police Department Officers Brian Comfort (“Comfort”) and Darren

 Carlock (“Carlock”); (3) failing to object to the opinion testimony of Comfort and Carlock that

 Defendant’s interactions with individuals in vehicles on July 9, 1989 were consistent with drug

 transactions; and (4) failing to investigate or raise the issue of whether Comfort and Carlock

 presented false trial testimony regarding the events of July 9, 1989. For purposes of analysis, the

 Court has combined the second and fourth grounds for relief, and both arguments are addressed in

 Part II.C below.

 II.    Analysis

        In order to have his conviction set aside based upon ineffective assistance of counsel,

 Defendant must satisfy both components of the test set forth in Strickland v. Washington, 466 U.S.

 668 (1984). First, he must demonstrate that counsel’s performance was deficient, which requires

 showing that his “counsel’s performance fell below an objective standard of reasonableness.” Id.



        3
           The second supplemental brief relates only to Defendant’s first ground for relief, which
 is addressed in Part II.A. below. The Court has reviewed arguments made in the second
 supplemental brief, and they are largely redundant with the first supplemental brief. Therefore, the
 Court finds no need to provide the United States with any additional briefing opportunity prior to
 entering this Order.

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 at 687-88. In addressing the first prong, a court “must judge the reasonableness of counsel’s

 challenged conduct on the facts of the particular case, viewed at the time of counsel’s conduct,” and

 determine whether, in light of all the circumstances, the acts or omissions identified by the defendant

 were “outside the wide range of professionally competent assistance.” Id. at 690. In doing so, a

 court “should recognize that counsel is strongly presumed to have rendered adequate assistance and

 made all significant decisions in the exercise of reasonable professional judgment.” Id.

        Second, Defendant must show that any deficient performance prejudiced his defense, i.e.,

 “that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

 proceeding would have been different.” Id. at 694. “A reasonable probability is a probability

 sufficient to undermine confidence in the outcome.” Id. The Court need not address the inquiry in

 any particular order, and the Court must deny an ineffective assistance claim if Defendant fails to

 make a sufficient showing of either prong. Id. at 697 (explaining that “there is no reason for a court

 deciding an ineffective assistance claim to approach the inquiry in the same order or even to address

 both components of the inquiry if the defendant makes an insufficient showing on one”).

        A.       First Ground for Relief - Grand Jury

        Defendant asserts that Hack was ineffective for failing to file a pre-trial motion challenging

 whether the grand jury was presented with evidence of Defendant’s participation in the conspiracy

 after his eighteenth birthday. (See Doc. 222 at 5 (“Counsel failed to raise pre-trial motion that no

 post-eighteenth birthday agreement evidence was presented to the Grand Jury to bring an indictment

 on adult jurisdictional charge of Conspiracy, under 21 U.S.C. § 846, nor was any post-eighteenth

 birthday activity evidence ever presented to the Grand Jury to support element of violation of §

 841(b).”); Doc. 448 at 2 (“[T]rial counsel rendered ineffective assistance of counsel by failing to

 raise pre-trial motion that no post-eighteenth birthday agreement evidence was presented to the

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 grand jury . . . .”).) The United States argues that this failure was not deficient performance in light

 of other actions by Hack and, alternatively, that Defendant did not suffer prejudice.

        Hack argued, at all stages of the proceedings, that the Court lacked jurisdiction over

 Defendant due to the lack of any participation in the conspiracy by Defendant after his eighteenth

 birthday. First, Hack raised this issue in two pretrial pleadings entitled “Objection to Jurisdiction,”

 in which he argued that all overt acts charged in the Superseding Indictment preceded Defendant’s

 eighteenth birthday. (Docs. 8, 54.) Judge Cook overruled Hack’s jurisdictional objections based

 upon the United States’ representation that it would offer proof to show Defendant was an active

 member of the conspiracy after his eighteenth birthday. (Doc. 68.) Second, Hack objected to the

 Court’s jurisdiction at two different stages of the trial, both of which were overruled by Judge Cook.

        Third, Hack raised this jurisdictional issue on his first direct appeal. Rejecting the argument,

 the Tenth Circuit reasoned:

                There is much evidence that Harris was a member of the conspiracy from
        March, 1989, until his eighteenth birthday on June 19, 1989.
        ....
                On June 19, 1989, Harris moved from Tulsa, Oklahoma, to Denver,
        Colorado, his mother desiring to get him out of his poor environment in Tulsa. On
        July 6, 1989, Harris, however, returned to Tulsa for a visit. Two foot-patrol officers
        assigned to the North Tulsa area testified that on July 9, 1989, they saw Harris,
        Reggie LeRoy (a co-defendant), and others in the vicinity of Louis’ apartment
        complex, flagging down cars, going to the stopped vehicles, putting their hands
        toward the persons in the car, and then pulling their hands back. One officer testified
        that in his experience this type of activity indicates “cocaine dealing.” Harris was
        arrested at the time of this incident. No drugs were found on him, although he had
        some $600 in currency on his person.
                We think the testimony of these two officers was sufficient to show
        participation by Harris in the conspiracy after he became eighteen years of age.
        Such was also corroborated by the statements made by Ward Price, a leader in the
        conspiracy, to Officer Witt. In this latter regard, Price, in June and July, 1989,
        attempted to draw Officer Witt, posing as a “crooked cop,” into the conspiracy. In
        the course of Price’s conversations with Officer Witt, many of which were
        audio-taped, Darren Harris’ name was mentioned. We have this date held in
        companion appeals that Price’s statements were in furtherance of the conspiracy. In

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        those conversations Price said that although the conspiracy was a profitable one,
        there were problems and he offered Witt money in exchange for his assistance.
                In United States v. Cruz, 805 F.2d 1464 (11th Cir.1986), cert. denied, 481
        U.S. 1006, 107 S. Ct. 1631, 95 L. Ed.2d 204 cert. denied, 482 U.S. 930, 107 S.Ct.
        3215, 96 L.Ed.2d 702 (1987), the Eleventh Circuit held that the district court had
        jurisdiction to try the defendant, who had been charged with conspiracy to possess
        cocaine with intent to distribute, even through he was a juvenile at the time he
        entered into that conspiracy, since the government had presented evidence from
        which the jury could infer that the defendant’s involvement continued after he turned
        eighteen. Id. at 1475–77. See also, United States v. Gjonaj, 861 F.2d 143, 144 (6th
        Cir.1988); and United States v. Spoone, 741 F.2d 680, 687 (4th Cir.1984), cert.
        denied, 469 U.S. 1162, 105 S. Ct. 917, 83 L. Ed.2d 929 (1985). There being
        evidence that Harris committed acts in furtherance of the conspiracy after attaining
        the age of eighteen, the district court in the instant case had jurisdiction to try him.
        Further, the evidence was legally sufficient to support the jury’s verdict.

 United States v. Harris, 944 F.2d 784, 785-86 (10th Cir. 1991) (footnote omitted and emphases

 added). Finally, Hack argued in a second appeal that Judge Cook denied Defendant due process by

 applying the sentencing guidelines to conduct committed as a juvenile. Rejecting this argument, the

 Tenth Circuit again concluded that there was sufficient evidence that Defendant committed acts in

 furtherance of the conspiracy after turning eighteen and that Hack’s “juvenile status arguments

 [were] simply beside the point.” United States v. LeRoy, 984 F.2d 1095, 1099 (10th Cir. 1993).

        The Court concludes that Hack was not deficient for failing to file a pre-trial motion

 specifically challenging the jurisdictional evidence presented to the grand jury. First, as argued by

 the United States, Defendant has not established as a factual matter that Carlock’s and Comfort’s

 testimony was not presented to the grand jury. Second, Hack raised the same substantive

 jurisdictional objection by several other types of motions prior to, during, and after trial. Hack’s

 decision not to file an additional motion aimed more specifically at the grand jury proceedings

 cannot be deemed deficient performance in light of Hack’s other efforts to dismiss the Superseding

 Indictment and reverse the conviction based upon a lack of jurisdiction. Finally, due to the Tenth

 Circuit’s consideration and rejection of other jurisdictional arguments that were preserved for

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 appeal, Defendant cannot show any prejudice flowing from Hack’s failure to file yet another similar

 motion.4

        B.      Third Ground for Relief - Opinion Testimony of Comfort and Carlock

        During trial, Comfort and Carlock testified that, on July 9, 1989, they observed Defendant

 and co-defendant Reggie LeRoy engaged in conduct consistent with dealing drugs – namely,

 reaching a hand toward a person in a car, who would then reach a hand back out. Defendant argues

 that Hack was ineffective for failing to object to this opinion evidence as violating Federal Rule of

 Evidence 704(b).

        Federal Rule of Evidence 704(b) prohibits an expert witness in a criminal case from stating

 “an opinion about whether the defendant did or did not have a mental state or condition that

 constitutes an element of the crime charged, or a defense.” Rule 704(b) does not apply to Comfort

 or Carlock’s testimony in this case because they did not offer opinion testimony as to Defendants’

 mental state or condition. Instead, they offered opinions that certain movements and actions by

 Defendant were consistent with drug transactions. Such testimony is permissible as expert opinion

 testimony under Federal Rule of Evidence 702 based on “other specialized knowledge” acquired

 through “experience and training.” See United States v. Garza, 566 F.3d 1194, 1199 (10th Cir.

 2009) (explaining that the court has “repeatedly permitted police officers to testify as experts

 concerning issues involved in the drug trade”) (internal alterations and quotations omitted). Thus,


        4
            If the trial court lacked subject matter jurisdiction over Defendant due to problems with
 the grand jury process, it seems that the Tenth Circuit would have reversed the conviction regardless
 of whether such error was raised by Hack. See United States v. Cotton, 535 U.S. 625, 630 (2002)
 (“[D]efects in subject-matter jurisdiction require correction regardless of whether the error was
 raised in district court.”). Further, the grand jury’s failure to indict on any post-June 19, 1989 overt
 acts does not prevent the United States from supporting its conviction with such acts. See United
 States v. Coleman, 349 F.3d 1077, 1088 (8th Cir. 2003) (explaining that “[i]n a charge of conspiracy,
 the government is not limited to proof of the overt acts charged in the indictment”).

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 any objection based upon Rule 704(b) would have been meritless, and Hack’s failure to raise such

 an objection did not constitute deficient performance. See Sperry v. McKune, 445 F.3d 1268, 1275

 (10th Cir. 2006) (explaining that, if an issue is meritless, its omission will not constitute deficient

 performance).

         C.      Second and Fourth Grounds for Relief – July 9, 1989 Drug Activity and Arrest

         Defendant argues that Hack should have (1) sought pre-trial discovery to obtain police

 reports and/or evidence logs related to the arrest on July 9, 1989, and (2) raised the issue of

 prosecutorial misconduct based upon the United States’ knowing presentation of false testimony by

 Comfort and Carlock regarding the events of July 9, 1989. Defendant contends that a reasonable

 attorney would have investigated and raised these issues because Defendant informed Hack that he

 was never arrested on this date and was “not there.” (See Doc. 22 at 5 (stating that he informed

 Hack during trial of this false testimony); see also Doc. 444 (stating that he told Hack “prior to trial

 that he was not arrested on July 9, 1989 because he was not there”).) The United States contends

 that (1) Defendant has no factual support for his assertions, other than his bare allegations; and (2)

 even assuming Hack performed deficiently in relation to the July 9, 1989 arrest, Defendant has failed

 to show prejudice.

         The Court finds that an evidentiary hearing is necessary. Defendant alleges (1) that he told

 Hack, prior to trial, that he was never arrested on July 9, 1989 and that he was not physically present

 at the scene; (2) that he told Hack during trial that Comfort and Carlock gave false testimony about

 observing and arresting Defendant on that date; and (3) Hack did not take the seemingly simple step

 of requesting or obtaining an arrest report to confirm or deny Defendant’s denial. While these types

 of allegations by a defendant may not warrant an evidentiary hearing in most cases, the overall

 factual circumstances weigh in favor of a hearing. Those circumstances include: (1) this Court did

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 not preside over the trial and is less familiar with counsel’s performance than in an ordinary case;

 (2) Hack is deceased and has been unable to offer testimony about his performance; (3) Hack was

 aware of the importance of any post-June 19, 1989 evidence; (4) Hack was aware, prior to trial, that

 one piece of post-June 19, 1989 evidence was the drug transactions allegedly occurring on July 9,

 1989 (see Doc. 57 (responding to Defendant’s jurisdictional objection and listing Defendant’s

 participation in drug transactions on July 9, 1989 as grounds for overruling such objection));5 (5)

 the trial record is silent as to the existence of any arrest report or evidence log regarding the July 9,

 1989 arrest; (6) Hack did not cross-examine Comfort and Carlock as to whether an arrest report or

 evidence log existed that would support their testimony; (7) the undisputed trial evidence showed

 that Defendant was arrested for possession of stolen property in Oklahoma City one week later on

 July 16, 1989; (8) one of Defendant’s co-defendants was also named “Darren;” (9) Defendant

 contends that his “FBI rap sheet clearly shows that the defendant was not arrested on July 9, 1989

 for any offense” (see Doc. 444 at 2); and (10) there is still no arrest report in the record. If an arrest

 report was easily obtainable and would have contradicted the officers’ testimony by omitting any

 reference to Defendant, Hack’s failure to obtain and use the report for impeachment could possibly

 be deemed deficient performance. Thus, the Court will hear evidence on the deficient performance

 prong.

          An evidentiary hearing is also necessary on the issue of prejudice. As explained above, an

 arrest report contradicting the officers’ testimony that Defendant was arrested on July 9, 1989 and

 that $600 cash was found on his person would be highly persuasive impeachment evidence. Further,


          5
           This response brief filed by the United States prior to trial did not mention any arrest.
 However, Defendant contends that he told Hack, prior to trial, that he was not “arrested” on that
 date, indicating that Hack may have been on notice that the officers would testify that an arrest
 occurred.

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 the Court cannot conclude, without conducting a hearing, that there was enough other post-June 19,

 1989 evidence to render harmless any deficient performance related to the July 9, 1989 arrest. The

 only other evidence cited by the Tenth Circuit was Defendant’s name being “mentioned” by Ward

 Price (“Price”) on recordings made after June 19, 1989. On these recordings, Price was conversing

 with a police officer who was posing as a corrupt officer and surreptitiously recording Price. These

 audio-taped recordings have not been submitted to the Court, and the Court has not located them.

 The Court was, however, able to locate and review transcriptions of these recordings.6 Based on its

 initial review of these transcriptions, the Court is not persuaded that incriminating evidence on the

 recordings was so overwhelming as to render harmless any deficient performance by Hack related

 to the July 9, 1989 arrest.7

         Therefore, the Court will conduct an evidentiary hearing on Defendant’s second and fourth

 grounds for relief, which both relate to Hack’s pre-trial and trial performance regarding the July 9,

 1989 arrest. The legal issues will be (1) whether Hack’s performance in relation to the July 9, 1989

 drug activity and arrest fell below an objective standard of reasonableness; and (2) if so, whether

 there is a reasonable probability that, but for these errors, the outcome of Defendant’s proceeding

 would have been different.8

         6
           The transcriptions were not introduced as evidence at trial, but the jury viewed them while
 listening to the recordings. There was much redaction from the transcripts during trial based on
 exchanges between counsel and Judge Cook, and the Court is unsure if it has reviewed the same
 versions viewed by the jury.
         7
           Had the Court presided over the trial, it would have a better sense of whether the
 recordings were sufficient on their own to demonstrate post-June 19, 1989 participation by
 Defendant.
         8
            The issue of whether there existed sufficient post-June 19, 1989 evidence to support
 Defendant’s conviction has been repeatedly tested and upheld on appeal and is not the subject of this
 hearing. The issue upon which the Court will hear evidence is whether Defendant can demonstrate
 ineffective assistance of counsel in relation to testimony linking Defendant to the conspiracy after

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  III.   Conclusion

         Defendant’s § 2255 Motion (Doc. 222) is denied as to Grounds 1 and 3 and held in abeyance

  as to Grounds 2 and 4, pending the Court’s evidentiary hearing. Such hearing is scheduled for

  Thursday, December 19, 2013, at 10:00 am. Defendant’s Motion for Ruling (Doc. 445) is denied

  as moot.

         The Court hereby appoints counsel for Defendant Harris, and this matter is referred to the

  United States Public Defender’s Office to locate counsel for Defendant. The Clerk is directed to

  send an electronic copy of this Order to the United States Public Defender’s Office. Counsel shall

  file an entry of appearance within ten days from the date of this Order.

         The Clerk is directed to send a copy of this Opinion and Order to the Tenth Circuit Court of

  Appeals, as it relates to Tenth Circuit Case No. 13-5132.

         DATED THIS 21st day of November, 2013.




                                               TERENCE C. KERN
                                               UNITED STATES DISTRICT JUDGE




  his eighteenth birthday.

                                                  10
